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      EXHIBIT 1
         TO
NON-PARTY NINTENDO
  OF AMERICA INC.’S
  ADMINISTRATIVE
   MOTION TO SEAL
 PORTIONS OF DX-4075

(REDACTED VERSION)
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     You, as an authorized representative of Content Provider, indicate Content Provider’s agreement to
            be bound by these terms by clicking the "Accept" button.

                                          Nintendo Switch
                             Content License and Distribution Agreement

                                                                               Last Updated: November 15, 2019


     This Nintendo Switch Content License and Distribution Agreement (the “Agreement”) governs the
     relationship between Nintendo Co., Ltd., 11-1 Hokotate-cho, Kamitoba, Minami-ku, Kyoto, 601-8501,
     Japan (“Nintendo”) and you or the entity you represent (“Content Provider”).
     Nintendo and Content Provider are collectively referred to as the “Parties”; each a “Party”.

     Nintendo and Content Provider agree as follows:

     1.   Definitions
           1.1




           1.2 “Affiliate(s)” of a Party means an entity that directly or indirectly controls, or is controlled by, or
               under common control with that Party. “Control”, for the purpose of this definition, means direct
               or indirect ownership or control of more than 50% of the voting interests of the subject entity.
           1.3 “Assignment” means any type or form of assignment, transfer, sale, sublicense, delegation,
               encumbrance, pledge, or hypothecation of this Agreement or of a Party’s rights or obligations
               under this Agreement, whether occurring voluntarily or involuntarily.
           1.4 “Authorized Developer” means any person or entity that has accepted the Terms of Service
               and has a valid account to access the NDP.
           1.5 “Claim” means any and all threatened or realized third-party claims, demands, actions, suits or
               proceedings, including, without limitation, civil, criminal and regulatory matters, and those
               brought by governmental authorities, agencies or any third-party under any federal, state or
               foreign law or regulations, or the rules of any self-regulatory body (for example, the
               Entertainment Software Rating Board).
           1.6 “Confidential Information” means any information provided to a Party or to a Party’s Affiliate
               (“Receiving Party”) that is disclosed by the other Party or the other Party’s Affiliate, (“Disclosing
               Party”), or by any third-party under an obligation of confidentiality to Disclosing Party, that is
               designated as confidential or that, given the nature of the information or the circumstances
               surrounding its disclosure, reasonably should be considered as confidential. Nintendo’s
               Confidential Information includes, without limitation, the Development Materials, Guidelines, any
               materials and information available on the NDP,                                  and the terms and
               conditions of this Agreement. Confidential Information will not include any information which: (i)
               was in the public domain prior to Receiving Party’s receipt of the same hereunder, or which
               subsequently becomes part of the public domain by publication or otherwise, except by the
               Receiving Party’s act or omission; (ii) Receiving Party can demonstrate, through written records
               kept in the ordinary course of business, was in its possession without restriction on use or
               disclosure, prior to its receipt of the same hereunder, and was not acquired directly or indirectly
               from Disclosing Party under an obligation of confidentiality which is still in force; (iii) Receiving
               Party can show was received by it from a third-party who did not acquire the same directly or
               indirectly from Disclosing Party under an obligation of confidentiality; or (iv) Receiving Party can




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              show was independently developed by it without reference to or reliance upon any Confidential
              Information of Disclosing Party.
        1.7 “Content” means any software programs developed to be compatible with, and for use and
            operation solely on, the Nintendo System for distribution in digital or packaged form as
            authorized by Nintendo Entities. The Content includes any Patches, demonstration versions,
            and add-on content designed for use with such software program.
        1.8

        1.9



        1.10     “Currency” means any form of resources, credits, monies, currency, or other units or items,
            whether physical or digital, and recognized by any entity or group of persons as representing
            any particular value outside the Content that can be transferred as a medium of exchange.
        1.11




        1.12



        1.13
        1.14     “Effective Date” means the date of the acceptance of this Agreement by an authorized
            representative of Content Provider by clicking the “Accept” button or through other means
            provided by Nintendo and explicitly identified by Nintendo for that purpose.
        1.15

        1.16




        1.17




        1.18




        1.19     “Laws” means any and all applicable national, federal, state and international laws, rules,
            regulations, orders, ordinances, regulatory guidance, and industry self-regulations.
        1.20       “Intellectual Property Rights” means any registered or unregistered rights or applications
            for rights owned, licensed or otherwise held in patents, trademarks, service marks, copyrights,
            mask works, trade secrets, trade dress, moral rights, publicity rights and any other similar rights,
            together with all inventions, discoveries, ideas, technology, know-how, data, information,
            processes, formulas, drawings and designs, licenses, computer programs, software source code
            and object code, and all amendments, modifications, and improvements thereto for which such




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             patent, trademark, service mark, copyright mask work, trade secrets, trade dress, moral rights,
             or publicity rights may exist or may be sought and obtained in the future.
         1.21




         1.22     “NDP” means Nintendo’s developer support website and portal system, currently known
             as the Nintendo Developer Portal.
         1.23     “Nintendo Entity (ies)” means collectively or individually, Nintendo and/or its Affiliates.
         1.24      “Nintendo Intellectual Property Rights” means the Intellectual Property Rights owned,
             licensed or otherwise held by Nintendo, related to the Development Materials, the Security
             Technology, any System Update, the Nintendo System and the Nintendo Network.
         1.25




         1.26     “Nintendo Marks” means all registered and unregistered trademarks, service marks, trade
             names, domains, logos, brand names owned by Nintendo Entities or graphic icons for
             representing specific feature of the Nintendo System or Nintendo Network.
         1.27




         1.28




         1.29     “Nintendo System” means the Nintendo Switch and its successor system(s) designated
             by Nintendo in its sole discretion.
         1.30     “Patch” means any bug fixes, updates, modifications, or new versions of the original
             Content, that is distributed free of charge to end users who have purchased and/or downloaded
             the Content.




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         1.31      “Reverse Engineer (ing)” means, without limitation, (a) the x-ray, electronic scanning, or
             physical or chemical stripping of semiconductor components, (b) the disassembly, decompilation,
             decryption, or simulation of object code or executable code, or (c) any other technique designed
             to extract source code to facilitate the duplication of a program or product.
         1.32

         1.33     “Schedule(s)” means the Nintendo Shop Sales Schedule attached hereto as Schedule 1,
             any Packaged Content Schedule, and any other schedule entered into by Content Provider in
             accordance with Section 5.1.
         1.34



         1.35     “System Update” means upgrades, bug fixes or additional features that modify the
             operating system of the Nintendo System and/or are designed to optimize, enhance or otherwise
             modify the operation or performance of the Nintendo Network or Nintendo System.
         1.36      “Term” means the time period from the Effective Date through the expiration or termination
             of this Agreement in accordance with Section 14.
         1.37     “Terms of Service” means the Terms of Service and Non-Disclosure Agreement accepted
             by Content Provider in connection with Content Provider’s access to NDP.
         1.38     “Territory” has the meaning as defined in the individual Schedules.
         1.39




    2.   Scope and Applicability
         2.1
         2.2 This Agreement will take precedence over any other terms related to the Content submitted by
             Content Provider. Nintendo will not be bound by, and hereby objects to, any different and/or
             additional terms and conditions presented by Content Provider. Any such terms and conditions
             will become binding on Nintendo only if Nintendo explicitly accepts such terms and conditions in
             writing.

    3.   Creation and Submission of Content
         3.1

         3.2




         3.3




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         3.4




         3.5

        (a)



        (b)

        (c)



        (d)

        (e)



         3.6 Guidelines. Content Provider will ensure that the Content and Marketing Material comply with
             all the Guidelines applicable to the respective items. Content Provider acknowledges and
             agrees that the Guidelines do not (a) represent legal advice in relation to the Content or
             Marketing Material, or (b) diminish, release or otherwise affect Content Provider’s warranties,
             representations, indemnifications or other obligations under this Agreement.
         3.7




         3.8




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         3.9 Currency. Content Provider will ensure that the Content does not permit the end user to obtain
             Currency within the Content, including but not limited to, for the purposes of gifting, exchange,
             redemption, transfer, use as a premium, or purchasing anything, whether within, or outside of,
             the Content or the Nintendo Network.
         3.10




         3.11




         3.12




         3.13




         3.14




    4.   Online Service
         4.1




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          4.2




     5.   Distribution of Content
          5.1




          5.2




          5.3




          5.4




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     6.   Marketing
          6.1




          6.2



          6.3




          6.4




          6.5




          6.6




          6.7




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     7.   Intellectual Property Ownership
          7.1 Except for those rights expressly granted to Content Provider in this Agreement, Nintendo will
              retain whatever rights it owns or has been licensed, and Content Provider will obtain no rights in
              or to, any Nintendo Intellectual Property Rights.
          7.2 Except for those rights expressly granted to Nintendo Entities in this Agreement, Content
              Provider will retain whatever rights it owns or has been licensed, and Nintendo will obtain no
              rights in or to any Content Provider Intellectual Property Rights.
          7.3




          7.4




     8.   Confidentiality
          8.1




          8.2




          8.3




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            8.4




            8.5




            8.6




            8.7



            8.8




     9.




     10.   Representations and Warranties
            10.1     Content Provider’s Representations and Warranties. Content Provider represents and
                warrants to Nintendo Entities that:
     10.1.1 If Content Provider is an individual, (a) he or she is at least legal age of majority in his/her country
            of residence, or (b) the legal guardian or parent accepts the agreement on behalf of the minor;
     10.1.2 If Content Provider is a corporation or other legal entity, (a) it is a duly organized and validly existing
            entity and has the authority to enter into this Agreement and perform all of its obligations under this
            Agreement; and (b) a person who accepts this Agreement on behalf of Content Provider, has the
            right and authority to bind Content Provider to this Agreement;




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     10.1.3 The execution, delivery and performance of this Agreement does not and will not violate or
            otherwise conflict with any agreement by which Content Provider may be bound;
     10.1.4 Content Provider: (a) is the sole owner of all right, title and interest in and to the Content, Product
            Information, and Marketing Material; or (b) throughout the Territory and during the Distribution
            Term, has obtained all necessary licenses or approval of third parties in writing, and will fulfill any
            obligation imposed by third parties as applicable, and fully paid any royalty, Third-Party Content
            Fee, or other sum related to the Content for Content Provider to: (i) use such third parties’
            Intellectual Property Rights in the Content, Product Information and Marketing Material for the
            purposes contemplated by this Agreement, and (ii) grant to Nintendo Entities the rights set forth in
            this Agreement;
     10.1.5 Content Provider will at all times comply with all applicable Laws of the Territory relating to or in
            connection with this Agreement, including, without limitation, those relating to data protection, laws
            against bribery including UK Bribery Act, privacy and export laws and regulations, and all Content,
            Product Information, Marketing Material and all activities of Content Provider under this Agreement
            will at all times comply with this Agreement, the Guidelines and all applicable Laws;
     10.1.6 None of the Content, Product Information and Marketing Material misappropriate or infringe the
            Intellectual Property Rights of any third-party in the Territory;
     10.1.7 The Content will be delivered to Nintendo Entities free of any bugs, errors, or other operational
            defects that could materially affect the use and enjoyment of the Content, Nintendo System and
            Nintendo Network;
     10.1.8 The Content, Product Information and Marketing Material do not contain (a) any material that is
            obscene, libelous or defamatory or that discloses private or personal matters concerning any
            person, or (b) any computer virus, Trojan horse, spyware, or other contaminating, malicious, or
            destructive feature; and
     10.1.9




              10.2     Nintendo’s Representations and Warranties. Nintendo represents and warrants to Content
                  Provider that:
     10.2.1 It is a duly organized and validly existing entity and has the authority to enter into this Agreement
            and perform all of its obligations under this Agreement; and
     10.2.2 The execution, delivery and performance of this Agreement does not violate or otherwise conflict
            with any agreement by which Nintendo may be bound.

     11.   Disclaimers and Limitation of Liability
              11.1    Disclaimers. THE NINTENDO INTELLECTUAL PROPERTY RIGHTS, NINTENDO’S
                  CONFIDENTIAL INFORMATION, DEVELOPMENT MATERIALS, GUIDELINES, NINTENDO
                  NETWORK, SECURITY TECHNOLOGY, AND SYSTEM UPDATES ARE MADE AVAILABLE
                  ON AN “AS IS” BASIS WITHOUT REPRESENTATIONS OR WARRANTIES OF ANY KIND. TO
                  THE MAXIMUM EXTENT PERMITTED BY LAW, NINTENDO (ON BEHALF OF ITSELF, ITS
                  AFFILIATES, SUPPLIERS AND LICENSORS) EXPRESSLY DISCLAIMS ANY AND ALL
                  WARRANTIES WITH RESPECT TO THE NINTENDO INTELLECTUAL PROPERTY RIGHTS,
                  NINTENDO’S CONFIDENTIAL INFORMATION, DEVELOPMENT MATERIALS, GUIDELINES,
                  NINTENDO NETWORK, SECURITY TECHNOLOGY AND SYSTEM UPDATES, EXPRESS OR
                  IMPLIED, INCLUDING, WITHOUT LIMITATION, ANY WARRANTY OF MERCHANTABILITY,
                  NONINFRINGEMENT, OR FITNESS FOR A PARTICULAR PURPOSE. CONTENT PROVIDER
                  ACKNOWLEDGES THAT THE NINTENDO NETWORK MAY BE SUBJECT TO DISRUPTIONS,
                  AND THAT NINTENDO MAY DECIDE TO DISCONTINUE OR TERMINATE ALL OR PART OF




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              THE NINTENDO NETWORK, INCLUDING, WITHOUT LIMITATION, NINTENDO SHOP’S
              FUNCTIONALITY, AT ANY TIME IN NINTENDO’S SOLE DISCRETION AND WITH OR
              WITHOUT NOTICE OR REMEDY TO CONTENT PROVIDER.
          11.2     Limitation of Liability. TO THE MAXIMUM EXTENT PERMITTED BY LAW, EXCEPT WITH
              RESPECT TO DAMAGES OR LOSSES CAUSED AS A RESULT OF NINTENDO’S GROSS
              NEGLIGENCE, FRAUD OR WILLFUL MISCONDUCT, NINTENDO, NINTENDO’S AFFILIATES,
              SUPPLIERS AND LICENSORS WILL NOT BE LIABLE FOR LOSS OF PROFITS, OR FOR ANY
              SPECIAL, PUNITIVE, INCIDENTAL OR CONSEQUENTIAL DAMAGES ARISING OUT OF,
              RELATED TO OR RESULTING FROM THIS AGREEMENT, INCLUDING, WITHOUT
              LIMITATION, THE BREACH OF THIS AGREEMENT, THE SALE OR DISTRIBUTION OF THE
              CONTENT, THE AVAILABILITY OF THE NINTENDO NETWORK AND THE
              FUNCTIONALITIES OF THE NINTENDO SYSTEM.
          11.3




    12.   Indemnifications
          12.1




          12.2




          12.3




          12.4




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     13.   Changes to the Agreement
           13.1




     14.   Term and Termination
           14.1      Term. This Agreement is effective on the Effective Date and continues for an initial period
               of three (3) years, renewing thereafter automatically for additional one (1) year periods, unless
               either Party provide a written notice of non-renewal at least sixty (60) calendar days prior to the
               expiration of the then current period, or unless earlier terminated as provided for in Section 14.2.
           14.2      Termination.
     14.2.1 Without prejudice to any right or remedy a Party may have against the other Party, either Party
            may terminate this Agreement and/or any Schedule effective immediately by giving written notice
            to the other Party, if the other Party is in breach of this Agreement or any Schedules and such
            breach continues uncured for fourteen (14) calendar days after receipt of written notice of such
            breach.
     14.2.2 Termination by Nintendo. Without prejudice to any right or remedy Nintendo may have against
            Content Provider, Nintendo may terminate this Agreement and/or any Schedule effective
            immediately by giving written notice to Content Provider, if:
           (a)



           (b)




           (c)




           (d)




           (e)




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     14.2.3



              14.3      Effect of Termination. Upon expiration or termination of this Agreement, Content Provider
                  will cease all use of the Nintendo Intellectual Property Rights and Nintendo’s Confidential
                  Information for any purpose, except expressly permitted under this Agreement or otherwise
                  authorized by Nintendo in writing. Within thirty (30) calendar days of such expiration or
                  termination of this Agreement for any reason, Content Provider will securely delete or return to
                  Nintendo Entities all Guidelines, writings, drawings, models, data, tools and other materials and
                  information in possession of or under control of Content Provider that constitute or include
                  Nintendo’s Confidential Information. Upon Nintendo Entities’ request, Content Provider will
                  provide Nintendo Entities with proof of such deletion in the form of a certification signed by an
                  authorized representative.
              14.4      Survival. Sections 1, 3.5, 6.5, 6.6, 7, 8, 9, 10, 11, 12, 14.3, 14.4, 16, and Exhibits A and B,
                  and any other provisions that reasonably may be construed as surviving this Agreement will
                  survive the expiration or termination of this Agreement.

     15.   Assignment; Sublicense
              15.1




              15.2




              15.3




              15.4




     16.   Miscellaneous
              16.1      Entire Agreement. Except as otherwise set forth in this Agreement, this Agreement
                  together with any applicable Schedules, Exhibits hereto, the Guidelines, and the Terms of
                  Service constitute the entire agreement between the Parties with respect to subject matter of
                  this Agreement. Any prior negotiations, representations, agreements and understandings are




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              extinguished by, and completely expressed by this Agreement. Unless otherwise expressly
              provided herein, any amendment or modification to this Agreement must be in writing signed by
              the both Parties.
          16.2      Severability. If any provision of this Agreement is held invalid, void, or unenforceable,
              wholly or in part, this will not affect the validity of the other provisions of this Agreement. Such
              invalid or unenforceable provision will be removed from this Agreement and replaced with a valid
              and enforceable provision which comes as close as possible to the Parties’ intended commercial
              effect.
          16.3     No Waiver. The failure of a Party to enforce any provision of this Agreement will not be
              construed to be a waiver of such provision or of the right of such Party to thereafter enforce such
              provision.
          16.4      Force Majeure. Neither Party will be liable for any breach of this Agreement occasioned by
              any cause beyond the reasonable control of such Party, including governmental action, war,
              terrorism, riot or civil commotion, fire, natural disaster, labor disputes, restraints affecting
              shipping or credit, delay of carriers, inadequate supply of suitable materials or any other cause
              that could not with reasonable diligence be controlled or prevented by the Parties.
          16.5       Injunctive Relief. Content Provider acknowledges that in the event of its breach of this
              Agreement, no adequate remedy in money or other damages may be available to Nintendo
              Entities and that Nintendo Entities will be entitled to seek injunctive or other similar available
              relief in addition to any additional relief available to Nintendo Entities.
          16.6      Attorney’s Fees. In the event it is necessary for either Party to this Agreement to undertake
              legal action to enforce or defend any action arising out of or relating to this Agreement, the
              prevailing Party in such action will be entitled to recover from the other Party all reasonable
              attorneys' fees, costs and expenses relating to such legal action or any appeal therefrom.
          16.7     Third-Party Rights. Except as expressly stipulated by this Agreement, this Agreement does
              not confer, and is not intended to confer, any right on any person existing now or in the future
              who is not a party to this Agreement.
          16.8      Notice. Unless otherwise set forth in this Agreement, any notices relating to this Agreement
              will be in writing. All notices relating to this Agreement by Nintendo Entities will be deemed
              sufficiently given by when sent to Content Provider at the email address or mailing address
              Content Provider registers on NDP. All notices by Content Provider to Nintendo relating to this
              Agreement will be sufficiently given when (a) personally served or delivered; (b) transmitted
              electronically, with an original sent concurrently by first class mail; or (c) deposited with a
              guaranteed air courier service, in each case addressed to Nintendo Co., Ltd, 11-1 Hokotate-cho
              Kamitoba, Minami-ku Kyoto 601-8501, Japan, attention: General Manager of General Affairs
              Division. Notice will be deemed effective upon the earlier of actual receipt or three (3) business
              days after transmittal. Each Party may change its email address or mailing address by giving
              notice as described herein.
          16.9      Governing Law / Jurisdiction.
    16.9.1 Americas. If Content Provider’s head office is located in the Americas (as defined in Exhibit A of
           Schedule 1), this Agreement and the relationship between Nintendo and Content Provider under
           this Agreement are governed by the laws of the State of Washington, United States of America,
           without regard to its conflict of laws provisions. Content Provider irrevocably consents to the
           jurisdiction and venue of the Federal, state, and local courts located in King County, Washington,
           U.S.A. in connection with any action, suit, proceeding, or claim arising under or by reason of this
           Agreement. Content Provider waives all defences for lack of personal jurisdiction and forum non
           conveniens. The United Nations Convention on Contracts for the International Sales of Goods will
           not apply to this Agreement.
    16.9.2 Other countries. If Content Provider’s head office is located in the countries other than the
           Americas, this Agreement and the relationship between Nintendo and Content Provider under this
           Agreement are governed by the laws of Japan without regard to its conflict of laws provisions.




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          Content Provider irrevocably consents to the exclusive jurisdiction of the Tokyo District Court in
          connection with any action, suit, proceeding, or claim arising under or by reason of this Agreement.
          The United Nations Convention on Contracts for the International Sales of Goods will not apply to
          this Agreement.
         16.10     Language. This Agreement is made in the English language and any translated version of
             this Agreement is provided for reference purpose only. In the event of any inconsistency
             between non-English version and the English version, the English version will control.




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    Exhibit A (Privacy and Information Security Terms)

    1.
         1.1

         1.2
         1.3

         1.4
         1.5




         1.6



         1.7




         1.8




    2.




         2.1




         2.2




    3.




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          3.1

          3.2



          3.3



     4.
                (a)




                (b)
                (c)

                (d)




          IN THE EVENT OF A BREACH, NINTENDO ENTITIES HAVE THE RIGHT TO CONTROL THE
          BREACH NOTIFICATION PROCESS, UNLESS APPLICABLE LAWS DICTATE OTHERWISE, AND
          NOTHING IN THIS AGREEMENT WILL BE CONSTRUED TO LIMIT OR OTHERWISE PREVENT
          NINTENDO ENTITIES FROM INVESTIGATING, REMEDYING, MAKING NOTIFICATIONS TO
          PUBLIC AUTHORITIES (INCLUDING DATA PROTECTION AUTHORITIES) OR TAKING ANY
          OTHER ACTIONS IN RELATION TO THE BREACH.

     5.   Content Provider’s Representation and Warranties. Content Provider represents and warrants to
          Nintendo Entities that:
          5.1



          5.2




          5.3




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     Exhibit B (Anti-Social Forces)
     This Exhibit B will be applied to Content Provider if it is located in Japan.
     1.   Content Provider represents and warrants to Nintendo Entities that:
           (i)     it is not and will not be an Anti-Social Force (defined below);
           (ii)    any of its employees, directors and officers are not and will not be an Anti-Social Force;
           (iii)   it will not give monetary benefits or any other favors to an Anti-Social Force; and
           (iv)    it does not and will not, directly or indirectly; (a) make violent demands, make unreasonable
                   demands beyond the legal liability of Nintendo Entities; (b) use threat or violence in connection
                   with transactions; (c) damage the credit or interfere with the business of Nintendo Entities by
                   spreading false rumors, using fraud or force; or (d) any other acts equivalent to any of the
                   foregoing.

          “Anti-Social Force” means an organized crime group (“Boryokudan”), a member of a Boryokudan
          (“Boryokudanin”), a sub-member of a Boryokudan (“Boryokudan jyunkoseiin”), a corporation related to
          a Boryokudan (“Boryokudan kanren gaisha”), a racketeer attempting to extort money from a company
          by threatening to cause trouble at the general stockholders’ meeting (“Soukaiya”) or acting as if
          advocating legitimate social causes (“Shakai undou nado hyoubou goro”), or a special intelligence
          organized crime group (“Tokusyu chinou boryoku syudan”), or other group or person equivalent to any
          of the foregoing.
     2.   If Content Provider breaches the representations and warranties above, Nintendo will be entitled to
          immediately terminate the Agreement without notice and demand Content Provider to indemnify
          Nintendo against all damages. Nintendo will not be liable for any damages, losses or expenses
          incurred by Content Provider in connection with the termination of this Agreement by Nintendo under
          this Section.




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                                               Schedule 1:
                                       Nintendo Shop Sale Schedule
                                                    to
                        Nintendo Switch Content License and Distribution Agreement

    If Content Provider submits Content for Distribution in the Nintendo Shop, the following terms apply;

    1.   Distribution of the Content
          1.1 Nintendo as Commission Agent. Content Provider hereby appoints Nintendo as Content
              Provider’s sale commission agent.




          1.2




          1.3



          1.4




          1.5




    2.   License Grant by Content Provider
          2.1 Content Provider grants to Nintendo Entities during the Distribution Period and throughout the
              Territory, a non-exclusive, paid-up, royalty-free license in and to the Content, and all of Content
              Provider’s Intellectual Property Rights associated therewith, necessary and sufficient to permit
              Nintendo Entities (and all third parties working on their behalf) to (a) host the Content on one or




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                 more servers owned, controlled or authorized by Nintendo Entities; (b) offer the Content for Sale
                 via the Nintendo Network for end users’ use; (c) Register a license of the Content (d) advertise,
                 market and promote the Content; and (e) Sell and Distribute the Content.


          (i)




          (ii)

          (iii)

          (iv)




    3.   Commission; Payments
         3.1 Commission. Nintendo, as Content Provider’s sale commission agent, will receive from Content
             Provider the Commission for each Sale in the Territory.
         3.2



         3.3




         3.4 Payment Currency. All payments by Nintendo to Content Provider under this Schedule will be
             made in the Payment Currency set forth in the Payment Currency Schedule as updated from
             time to time by Nintendo
                        For Sales in currencies other than the Payment Currency, the foreign currency price
             and the applicable Transaction Taxes for Sales will be converted to the Payment Currency based
             upon the monthly average exchange rate posted by OANDA.com for the month such Sale occurs.
             For example, for a Sale transaction in January, Nintendo would use the OANDA’s monthly
             average rate for January to calculate the currency conversion.
         3.5 Transaction Taxes. In the event the Sale is subject to the Transaction Taxes, responsibility for
             remittance of the Transaction Taxes will be determined in accordance with Exhibit C to this
             Schedule. Exhibit C is subject to change in compliance with the applicable Laws including local
             tax laws. Content Provider will promptly and fully indemnify, defend and hold Nintendo Entities
             harmless against any and all claims by any tax authority in connection with the Transaction
             Taxes Content Provider is responsible for remitting.
         3.6 Withholding Taxes. Content Provider is solely responsible for paying all taxes that are levied on
             Content Provider in compliance with applicable Laws. In the event that any payment by Nintendo
             to Content Provider or by Content Provider to Nintendo is subject to any withholding or other
             similar tax levied by any applicable jurisdiction, the payer will withhold such tax and pay the
             payee the amount of money after deducting such withholdings. The payer will not be obliged to
             make gross-up payments to the payee. If reduction of withholding taxes is available in




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               accordance with an applicable treaty, both parties will cooperate in mitigating any withholding
               tax burden. In the event any withholding tax is levied on the payment from the payer to the payee,
               payer will provide payee copies of relevant tax documents evidencing withholding of such taxes.
         3.7




    4.




    5.




    6.




    7.   Survival In addition to those provisions specified elsewhere in the Agreement, Sections 2.1(ii), (iii),
         (iv), 3.5, 3.6, 5, 6, 7 and 8 of this Schedule will survive any expiration or termination of this Schedule.

    8.   Definitions Capitalized terms not defined below in this Section 8 of this Schedule have the meanings
         set forth Section 1 of the Agreement.
         8.1 ”Commission” means the percentage set forth in Exhibit B.
         8.2 “Distribute,” “Distributed,” or “Distribution” means a delivery of a single copy of the Content
             and the Registration of a license for the Content to the account of an end user by a Nintendo
             Entity.
         8.3 “Final Payable Amount” means the total amount of payment a Nintendo Entity actually received
             for Sales from end users during the applicable month, reduced by (where applicable): (i) the
             Transaction Taxes, (ii) the Commission, (iii) the Refunds, (iv) withholding taxes and (v) Third-
             Party Content Fees paid by Nintendo Entities to any third party.
         8.4




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         8.5 “Payment Currency” means the currencies used for the payment by Nintendo to Content
             Provider. The list of the Payment Currency is specified in the Payment Currency Schedule.
         8.6 “Payment Currency Schedule” means the current version or any future version of the list of the
             Payment Currency and Minimum Payment Amount.
         8.7




         8.8




         8.9 “Territory” means NCL Region, NOA Region, NOE Region, NAL Region, NOK Region and/or
             NHL Region (each as defined in Exhibit A) as selected by Content Provider for the distribution
             of the specific Content.
         8.10     “Transaction Taxes” means in relation to a Sale, all applicable value-added taxes,
             consumption taxes, sales taxes, or similar transaction-based taxes.




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     Exhibit A to Schedule 1: Appointment as Commission Agent




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     Exhibit B to Schedule 1: Commission
     Thirty percent (30%)




     Exhibit C to Schedule 1: Transaction Taxes

     1. Content Provider will be solely responsible for remitting the Transaction Taxes to the appropriate tax
     authorities as required by the applicable local Laws for Sales to end users located in the following countries:

     Japan

     2. The respective Nintendo Entity will remit the Transaction Taxes to the appropriate tax authorities for
     Sales to end users located in the following countries:

     Countries in which Nintendo Entities offer the Nintendo Shop services other than the countries listed in
     Section 1 of this Exhibit C above.




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